     Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 1 of 12. PageID #: 1215




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

FANNIE MAE,                                    )     Case No. 1:24-cv-1606
                                               )
                Plaintiff,                     )     JUDGE BRIDGET MEEHAN BRENNAN
                                               )
v.                                             )     RECEIVER’S FIRST REPORT AND FIRST
                                               )     APPLICATION FOR APPROVAL OF FEES
HATZ ONE LLC, et. al.,                         )
                                               )
                Defendants.                    )




        Now comes the Receiver, Michael Guggenheim in his capacity as the court-appointed

receiver (the “Receiver”), by and through the undersigned counsel and pursuant to this Court’s Order

dated February 28, 2025, hereby files this First Receivers’ Report regarding the properties which are the

subject of the within proceedings located in Shaker Heights, Ohio (the “Properties”). A copy of the First

Receivers Report (“Report”) is attached hereto as Exhibit A. The Receiver further requests the Court’s

approval as to the fees and costs of the Receiver and its counsel incurred in this case for the

period commencing February 28, 2025 through April 28, 2025.

                                                   Respectfully Submitted,
                                                   /s/ Mitchell Cohen
                                                   MITCHELL COHEN (0063046)
                                                   Weyls Peters + Chuparkoff, LLC
                                                   6505 Rockside Road, Suite 105
                                                   Independence, Ohio 44131
                                                   Tele. (216) 264-4822
                                                   Email: MC@W-PLLC.COM
                                                   Counsel for Receiver




                                                      1
     Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 2 of 12. PageID #: 1216




                            MEMORANDUM IN SUPPORT

I.     OVERVIEW OF RECEIVERSHIP.

       On February, 28, 2025, this Court entered its Order Appointing Receiver whereby Michael

Guggenheim was appointed as the Receiver for the properties which are more particularly

described in Plaintiff Complaint (Doc 1, Par 36) and consist of a portfolio of residential apartment

buildings, each three to four stories in height, located in neighborhoods of North Moreland, South

Moreland/Ludlow and South Woodland areas of Shaker Heights, Ohio (collectively, the

“Properties”). The Properties contain approximately 308 apartments with a current tenant

occupancy of approximately twenty percent (20%).

       Following the appointment, the Receiver signed and duly recorded the Oath and Bond of

Receiver, a copy of which was previously filed with this Court (Doc 33). The Receiver took

immediate steps to protect and preserve the Properties including inspecting the Properties in order

to initially assess its condition and the priority needs of the buildings and of tenants therein. In

addition, the Receiver obtained evidence that the Properties are sufficiently insured and has

arranged for various due diligence investigations as to the Properties condition and engaged the

property management services of The Hayman Company (the “Property Manager”).

       The Receiver experienced several difficulties with the transition of the Properties from the

Defendant. Despite attempts made upon Defendants, Receiver was provided with limited or

incomplete information as to the operation of the Property from previous ownership, management,

custody and control of its assets including a lack of current financial reporting and accounting. As

this Court is aware, the principal representative of the Defendants, Mendel Steiner, pre-deceased

the Receivership (Doc 26, Notice of Suggestion of Death) which subsequently led to Defendants

prior counsel withdrawing from representation (Doc 34). As indicated in the Receiver’s First

                                                 2
      Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 3 of 12. PageID #: 1217




Report attached hereto as Exhibit A, Receiver has communicated with Leo Gold to obtain some

additional information regarding the operation of the Properties prior to the Receivership and for

the voluntary transfer of certain additional funds held by Defendants. In accordance with the

Receivership Order, Receiver has submitted its initial funding budget to Plaintiff and has received

funds from Plaintiff as more particularly described in Exhibit A.

II.     INCOME AND EXPENSES.

        For this initial reporting period, and pursuant to the terms of the Order Appointing Receiver

dated February 28, 2025, Receiver submits to this Court that it has incurred Receiver’s Fees of

$16,000 as set forth in the Receiver’s Invoice attached hereto as Exhibit B. Receiver also engaged

Mitchell Cohen Esq. of Weyls Peters & Chuparkoff, LLC as Receivers Counsel which was

previously approved by this Court (Doc 34). As outlined in Exhibit B, counsel to the Receiver has

incurred $9,125 in attorney fees. As set forth in Exhibit B, counsel for the Receiver has participated

in pleadings and motions in the within proceedings including the Order Appointing Receiver,

conducted conferences with Plaintiff and Plaintiff’s counsel, reviewed Court pleadings previously

filed in the within proceedings and in other pertinent and pending litigation matters affecting the

Receivership, engaged in correspondence with parties and counsel, reviewed due diligence

material pertaining to the condition and operation of Properties, and advised the Receiver

regarding such pending matters and various challenges for the transition of the Properties to

Receiver from prior management, assisting Receiver to identify missing or incomplete information

regarding property records, operating and financial reports. The Receiver states that the fees and

all time incurred as set forth herein has been reasonable and necessary to the administration of the

Receivership.




                                                  3
       Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 4 of 12. PageID #: 1218




III.     CONCLUSION

         For these reasons, Receiver respectfully requests that the Court approve this First Receivers

Report, and approve the Receivers’ Fees and counsel fees set forth herein.

                                               Respectfully Submitted,
                                               /s/ Mitchell Cohen
                                               MITCHELL COHEN (0063046)
                                               Weyls Peters + Chuparkoff, LLC
                                               6505 Rockside Road, Suite 105
                                               Independence, Ohio 44131
                                               Tele. (216) 264-4822
                                               Email: MC@W-PLLC.COM
                                               Counsel for Receiver




                                                   4
    Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 5 of 12. PageID #: 1219



                                     CERTIFICATE OF SERVICE

        The foregoing Receiver’s First Report and First Application for approval of fees was served via

Electronic Mail on April 28, 2025 to all parties and counsel of record in the within matter.


                                                 /s/ Mitchell Cohen
                                                 MITCHELL COHEN (0063046)
                                                 Attorney for Receiver




                                                     5
Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 6 of 12. PageID #: 1220




                                Exhibit A
                            RECEIVERS REPORT




                                    6
    Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 7 of 12. PageID #: 1221




                             Receivership Report 04/29/2025



Michael Guggenheim was appointed receiver on 2/28/25. The Hayman Company
(“Hayman”) was selected to provide full-service property management services for the
entire portfolio. The management agreement was signed on 3/11/25. Funds received
through April include $494,500 for funding to cover the initial expenses associated with re-
keying the properties, sanitizing & cleaning, payment of delinquent utilities, property set
up, salary/payroll, maintenance & repairs and inspection reports (elevator, roof,
mechanical systems, environmental etc.). In addition, $52,000 was received from the
Defendant’s representative and $24,854.00 was received from 35 tenants for April Rent. All
the tenants
                                                                   (new on-site manager
hired in March), set up accounting systems, open operating accounts, activate emergency
on-call platform (Callmax), developing operating & capital budgets, transferring utilities,
and assessing conditions at each property. Representatives of Fannie Mae & Greystone
toured the property with the Receiver & Hayman on 4/2/25. Counsel has been retained to
handle property tax appeals, evictions, collections & building violations.

                                                                        for Receivership
and Receivers counsel’s fees.
    Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 8 of 12. PageID #: 1222




                                EXHIBIT B
               INVOICE OF RECEIVER AND RECEIVERS COUNSEL




.




                                        7
Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 9 of 12. PageID #: 1223
Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 10 of 12. PageID #: 1224
Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 11 of 12. PageID #: 1225
Case: 1:24-cv-01606-BMB Doc #: 37 Filed: 04/28/25 12 of 12. PageID #: 1226
